Case 20-06070-sms         Doc 38   Filed 05/16/21 Entered 05/16/21 10:32:06           Desc Main
                                   Document     Page 1 of 9



                     IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION


 IN RE:
                                                    Case No. 14-75160-sms
 ANTHONY CARVER MCCLARN,                            Chapter 13

       Debtor.


 ANTHONY CARVER MCCLARN,

       Plaintiff,

 v.                                                 Adversary No. 20-06070-sms

 CITIZENS TRUST BANK and LOANCARE,
 LLC,

       Defendants.


  PLAINTIFF’S SUPPLEMENTAL RESPONSES AND OBJECTIONS TO CITIZENS
TRUST BANK AND LOANCARE, LLC’S INTERROGATORIES AND REQUESTS FOR
                           PRODUCTION

       COMES NOW Plaintiff, by and through the undersigned counsel of record, and hereby

adopts his responses filed in his Plaintiff’s Responses and Objections to Citizens Trust Bank and

Loancare, LLC’s Interrogatories and Requests for Production” filed February 17, 2021 and

supplements his responses as follows:

                                     INTERROGATORIES

       1.        Please identify each person who assisted you in any way with the preparation of

your responses to these First Interrogatories, First Request for Admissions, and First Request for

Production of Documents.

SUPPLEMENTAL RESPONSE: No additional response.



                                                1
Case 20-06070-sms        Doc 38   Filed 05/16/21 Entered 05/16/21 10:32:06            Desc Main
                                  Document     Page 2 of 9



       2.      Please identify each person whom you claim or believe has knowledge or

information concerning the remaining claim in the Complaint for contempt. In doing so, please

provide the name, phone number, address, and substance of the information known by such person,

and whether the person has provided a written statement.

SUPPLEMENTAL RESPONSE:

      Jena Nottingham (significant other). Phone number: (301) 741-3310. Same address as

       Plaintiff. Plaintiff shares all aspects of his life with Ms. Nottingham and would have

       witnessed virtually everything that Plaintiff experienced and witnessed the impact on

       Plaintiff.

      Samuel McClarn (son). Phone number: (404) 889-3400. Same address as Plaintiff. Samuel

       McClarn has witnessed the impact of the mortgage issues on Plaintiff.

      Medalia Aceveda (supervisor).       Plaintiff is still seeking this individuals contact

       information.   Ms. Aceveda has information pertaining to Plaintiff’s suffering work

       performance, lethargy at work and resulting lack of promotion.

      Dr. Quratulain Syed, PCP (former primary care doctor). JenCare Senior Medical Center,

       (855) 845-9333.     She was Plaintiff’s primary care doctor and treated Plaintiff for

       depression, anxiety and sleep problems caused by Defendant’s conduct. Dr. Syed also has

       information relating to the dormant nature of Plaintiff’s cancer of the lymph nodes.

      Dr. Yohannes Endeshaw, M.D. (current primary care doctor). Grady Health. 80 Jessie

       Hill Dr. SE, Atlanta, GA 30303. (404) 616-1000. Mr. Endeshaw has been Plaintiff’s

       primary care doctors since mid 2020 and has seen Plaintiff in person or virtually every

       several months. Most recently, he had a virtually meeting with Plaintiff on May 13, 2021

       and prescribed Citalopram again for stress.


                                                2
Case 20-06070-sms        Doc 38    Filed 05/16/21 Entered 05/16/21 10:32:06             Desc Main
                                   Document     Page 3 of 9



       Dr. Leon Bernal (oncologist and hematologist). Phone number: (404) 616-4307, Winship

        Cancer Institute 80 Jesse Hill Jr Dr SE, Atlanta, GA 30303. Referral from Dr. Syed who

        would have similar information to Dr. Syed.

       None of the above have provided a written statement.

        3.     Please identify each person whom you may or will call as a witness at any trial or

hearing in this matter. In doing so, please provide the name and address of the witness, the subject

matter the witness is expected to testify, and whether any such person has given a written statement

or account.

SUPPLEMENTAL RESPONSE: Each individual listed in Plaintiff’s Supplemental Response to

Interrogatory No. 2 may be called as a witness. Each aforementioned witness would be called for

the purpose of demonstrating the mental and medical damages resulting from Defendant’s conduct,

and in the case of Ms. Aceveda to demonstrate the impact on Plaintiff’s work performance. None

of the aforesaid individuals have provided a written statement.

        3.     Please identify each expert expected to testify at trial or provide any evidence

whatsoever in this matter and state the subject matter about which the expert is to testify, the

substance of the facts and opinions to which the expert is expected to testify, and give a summary

of the grounds for each opinion. This interrogatory applies to all expert witnesses of every kind.

SUPPLEMENTAL RESPONSE: Plaintiff does not intend to call any expert witnesses at this

time.

        4.     Please describe, in detail, the damages that you are claiming in this action.

SUPPLEMENTAL RESPONSE:




                                                 3
Case 20-06070-sms        Doc 38    Filed 05/16/21 Entered 05/16/21 10:32:06              Desc Main
                                   Document     Page 4 of 9



              Interest incurred from 2019 to present due to not being able to modify or refinance

       the loan due to having dispute inaccurate accounting and other issues that prevented the

       bankruptcy from closing: $14,161.96 (30 months of 6.50% vs. 2.7%)

              Lost promotion opportunity ($20,000 annual): $21,667

              Medical costs: $63,832.26

              Pain and suffering, anxiety, sleep and memory problems: $50,000.00

              Punitive damages

              Attorney fees/costs: $4,850 ($200/hourly)

       5.      Please quantify each category of damages that you identified in response to

Interrogatory No. 5.

SUPPLEMENTAL RESPONSE: See response to Interrogatory No. 5.

       6.      If any of the damages that you identified in response to Interrogatory No. 5 include

emotional/mental distress damages, please provide the name, telephone number, and address of

any health professional (including, but not limited to physicians, physician’s assistants, nurse

practitioners, psychologists, and social workers) that you consulted with in person or electronically

regarding the claimed emotional/mental distress and identify (1) the date(s) on which you

consulted with the health professional; (2) the reason why you consulted with the health

professional; (3) any diagnosis by the health professional; and (4) the course of treatment, if any,

proscribed by the health professional.

SUPPLEMENTAL RESPONSE:

      Dr. Quratulain Syed, PCP (primary care doctor). JenCare Senior Medical Center, (855)

       845-9333. Dr. Syed was seen approximately every 3 months in 2019 for lack of sleep and

       depression. Dr. Syed determined that Plaintiff was suffering from both issues and referred


                                                 4
Case 20-06070-sms        Doc 38     Filed 05/16/21 Entered 05/16/21 10:32:06              Desc Main
                                    Document     Page 5 of 9



       Plaintiff to Dr. Felicia Goldstein, with Emory Neuropsychology Program, for study and

       prescribed Citalopram.      Plaintiff had to discontinue Citalopram due to side effects

       preventing normal functioning and undertook more natural remedies

      Dr. Felicia Goldstein, 404.727.6123, Emory University 201 Dowman Drive, Atlanta, GA

       30322 determined likely neurological issues were result of severe stress.

      Dr. Yohannes Endeshaw, M.D. (current primary care doctor). Grady Health. 80 Jessie

       Hill Dr. SE, Atlanta, GA 30303. (404) 616-1000. On May 13, 2021, Dr. Endeshaw

       prescribed Citalopram 10MG Tab.

       7.       If any of the damages that you identified in response to Interrogatory No. 5 include

emotional/mental distress damages, please provide the (1) names, (2) dosages, and (3) dates of

treatment by any prescription or over the counter drugs.

SUPPLEMENTAL RESPONSE: Citalopram (10 MG tab) was prescribed in June 11, 2019.

Prescribed against May 13, 2021.

       8.      If any of the damages that you identified in response to Interrogatory No. 5 include

emotional/mental distress damages, please describe the emotional/mental distress in detail,

including (1) your symptoms, (2) what you believe the symptom(s) were caused by, and (3) how

it has impacted you.

SUPPLEMENTAL RESPONSE: Plaintiff had difficulty sleeping, was lethargic, unable to focus,

suffered deteriorating memory and generally felt anxious and depressed. Plaintiff believes that the

symptoms were caused by the stress of dealing with the mortgage situation as he did not have other

significant stress inducers. Plaintiff had to seek medical care with various medical providers and

submit to a plethora of tests. Besides interfering with his general satisfaction of all aspects of his

life, Plaintiff’s work performance noticeably suffered. He believes that he was the preferred


                                                  5
Case 20-06070-sms       Doc 38    Filed 05/16/21 Entered 05/16/21 10:32:06             Desc Main
                                  Document     Page 6 of 9



candidate for a significant promotion but was passed up for a candidate with less experience in

April 2020.

       9.      If any of the damages that you identified in response to Interrogatory No. 5 include

attorney’s fees, please describe your fee arrangement with your counsel, including (1) the hourly

rate, and (2) whether your fee arrangement is memorialized in writing.

SUPPLEMENTAL RESPONSE: The fee arrangement is in writing.

       10.     Please describe, in detail, how you contend that either Defendant violated the terms

of the confirmed Chapter 13 Plan, as alleged in Paragraph 54 of the Complaint.

SUPPLEMENTAL RESPONSE: No additional response.

       11.     Please describe any and all communications that you had with Citizens or LoanCare

between the time that the Consent Order was entered and the date that this adversary proceeding

was filed and include (1) the date of the communication; (2) the method of the communication;

and (3) the substance of the communication.

SUPPLEMENTAL RESPONESE: No additional response.

       12.     Please describe, in detail, how you contend that either Defendant violated the terms

of the Consent Order.

SUPPLEMENTAL RESPONSE: No additional response

       13.     Please describe why you did not pay $15,794.24 to Citizens within ten days of entry

of the Consent Order, as required by the terms of the Consent Order.

SUPPLEMENTAL RESPONSE: No additional response

       14.     If you provided anything other than an unqualified admission to any of the

Defendants’ Requests for Admission, please describe, in detail for each request, why you provided

denied the request or gave a qualified admission.



                                                6
Case 20-06070-sms     Doc 38   Filed 05/16/21 Entered 05/16/21 10:32:06   Desc Main
                               Document     Page 7 of 9



SUPPLEMENAL RESPONSE: No additional response.

Dated: May 16, 2021

                                       Respectfully submitted,
                                       JEFF FIELD & ASSOCIATES

                                       /s/ Christopher J. Sleeper
                                       ____________________________________
                                       CHRISTOPHER J. SLEEPER
                                       Attorney for Plaintiff
                                       State Bar No. 700884

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                                          7
Case 20-06070-sms        Doc 38     Filed 05/16/21 Entered 05/16/21 10:32:06              Desc Main
                                    Document     Page 8 of 9



                                 CERTIFICATE OF SERVICE

       I hereby certify that I have this 16th of May 2021, served the within and foregoing pleading

by placing a true and correct copy of same in the United States Mail, with first-class postage affixed

thereto, properly addressed as follows:

BRET J. CHANESS
Rubin Lublin, LLC
Suite 100
3145 Avalon Ridge Place
Peachtree Corners, GA 30071-1570

A. Christian Wilson
Simpson, Uchitel & Wilson, LLP
P. O. Box 550105
Atlanta, GA 30355-2505
Dated: May 16, 2021

                                               Respectfully submitted,
                                               JEFF FIELD & ASSOCIATES

                                               /s/ Christopher J. Sleeper
                                               ____________________________________
                                               CHRISTOPHER J. SLEEPER
                                               Attorney for Plaintiff
                                               State Bar No. 700884

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                                                  8
Case 20-06070-sms   Doc 38   Filed 05/16/21 Entered 05/16/21 10:32:06   Desc Main
                             Document     Page 9 of 9
